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                 Exhibit J
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                                        CURRICULUM  VITA  
Shannon  Wolf,  Ph.D.,  LPC-­S  
Associate  Director  of  Counseling  Program  
Professor  of  Psychology  and  Counseling    
B.  H.  Carroll  Theological  Institute,  Irving,  Texas  

  
Office  Address  
  
B.  H.  Carroll  Theological  Institute                         Southcliff  Counseling  Center  
6500  North  Belt  Line  Rd  Suite  100                         4100  SW  Loop  820  
Irving,  TX  75063-­6058                                        Fort  Worth,  TX  76019  
972.580.7600  ext.  29                                          817.924.2241  
  
Professional  Experience  
  
Associate  Director  of  Counseling  Programs  
Professor  of  Psychology  and  Counseling  
B.  H.  Carroll  Theological  Institute,  2016  –  Present  
Irving,  Texas  
Teach  psychology  and  counseling  courses  to  master  and  doctoral  level  students.  Assist  
in  the  creation  of  policy  and  decision  making  for  the  counseling  program.  Create  syllabi,  
select  text,  and  develop  lesson  plans.  Offer  academic  advisement,  serve  on  university  
committees,  and  develop  course  curricula.    
  
Director  of  Counseling  Ministry   
Southcliff  Christian  Counseling  Center,  2003-­Present   
Fort  Worth,  Texas   
Provide  counseling  services  to  the  community,  offer  consultation  services  for  church  
staff  members  concerning  counseling  matters,  provide  mental  health  seminars  for  
congregation  and  community,  and  manage  counseling  personnel  and  resources.    
  
Professor  of  Master  of  Arts  in  Counseling   
Dallas  Baptist  University,  2008  -­  2016   
Dallas,  Texas   
Taught  psychology  and  counseling  courses  to  master's  level  students.  Created  syllabi,  
selected  text,  and  developed  lesson  plans.  Offered  academic  advisement,  served  on  
university  committees,  and  developed  course  curricula.  Increased  rank  from  Associate  
Professor  to  Professor.  
  
Teaching  Fellow   
Southwestern  Baptist  Theological  Seminary,  2003-­2008   
Fort  Worth,  Texas   
Taught  psychology  and  counseling  courses  to  master’s  level  students.  Responsibilities  
included  curriculum  development,  creation  of  syllabi,  text  selection,  and  lesson  plan  
construction.    
  
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                                                                                                 Wolf   2  

Adjunct  Faculty   
Dallas  Baptist  University,  2007  –  2008   
Dallas,  Texas  
Taught  psychology  and  counseling  courses  to  master’s  level  students.  Responsibilities  
included  curriculum  development,  creation  of  syllabi,  text  selection,  and  lesson  plan  
construction.    
  
Clinical  Intern  Supervisor   
Southwestern  Baptist  Theological  Seminary,  2004-­2008   
Fort  Worth,  Texas   
Directed  supervision  of  counselors-­in-­training  at  the  Baptist  Marriage  and  Family  
Counseling  Center  and  interacted  with  outside  agencies  in  coordination  of  supervision  
of  externs.    
  
Graduate  Assistant   
Southwestern  Baptist  Theological  Seminary,  2002-­2006   
Fort  Worth,  Texas   
Assisted  Dr.  Dana  Wicker  in  conducting  research  and  instructing  master  level  students,  
managed  on-­line  grade  book,  and  graded  master’s  level  assignments.  
    
Missionary   
International  Mission  Board,  Southern  Baptist  Convention    
            
             International  Baptist  Theological  Academy,  1995-­1997    
             Budapest,  Hungary    
             Taught  English  translation  to  church  leaders  from  Eastern  Europe  and  Northern        
               Africa,  mentored  Christians,  taught  English  as  a  foreign  language  to  the    
             community,  and  conducted  relationship  evangelism    
  
             Church  Planter,  1997-­1999    
             Banja  Luka,  Bosnia    
             Planted  an  indigenous  evangelical  church,  mentored  new  Christians,  and  taught    
             a  Business  English  class  at  the  University  of  Serbia.    
  
Licensure/Certifications  
  
Licensed  Professional  Counselor,  Texas,  Since  2003   
  
Licensed  Professional  Counselor  Approved  Supervisor,  Texas,  Since  2009  
  
International  Critical  Incident  Stress  Management  Certification,  2002    
       Approved  CISM  Instructor,  Since  2016   
       Advanced  International  Critical  Incident  Stress  Management  Certification,  2010    
       Suicide  Prevention,  Intervention,  Post-­vention  Certification,  2010   
  
Taylor  Johnson  Temperament  Analysis  Trainer,  Since  2008   
  
Prepare/Enrich,  2001   
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                                                                                              Wolf   3  

Protection  of  Human  Subjects  in  Research  Certification,  Since  2012    
   Through  Collaborative  Institutional  Training  Initiative,  Miami  University  
  
Professional  Affiliations  
  
American  Association  of  Christian  Counselors,  Since  2000    
      Faculty  advisor  for  BH  Carroll  Theological  Institute’s  student  chapter  of  American  
      Association  of  Christian  Counselors,  2016-­Present  
      Track  Coordinator  for  World  Conferences,  2013  -­  Present   
      Frequent  Contributor  to  the  AACC  Daily  Blog  
          
Society  for  Christian  Psychology,  Since  2005    
      Executive  Director  of  the  Society,  Since  2015    
      Clinical  Advisory  Board,  Since  2009    
      Editor  of  the  Society’s  quarterly  newsletter,  Since  2015    
      Frequent  Contributor  to  Society’s  Online  Journal    
  
American  Psychological  Association,  Since  2017  
  
Christian  Association  of  Psychological  Studies,  Since  2009    
       Regional  Board  of  Directors,  2011  -­  2014   
       Track  Coordinator  for  the  2013  International  Conference    
  
Journal  of  Christian  Psychology,  Associate  Editor  Since  2014  
  
Journal  of  Theology  and  Psychology,  Peer  Reviewer  Since  2012    
  
Journal  of  Psychology  and  Christianity,  Peer  Reviewer  Since  2013    
  
Sage  Publications,  Psychology  and  Counseling  Textbook  Reviewer,  Since  2014   
  
Community  and  International  Involvement  
  
UnBound  Group  Counselor,  Fort  Worth,  Texas,  Since  2018.  
Provide  group  therapy  for  family  members  of  trafficking  victims.    
  
Fort  Worth  Critical  Incident  Stress  Management.  2004  –  Present   
Coordinator  for  CISM  team  in  providing  emergency  mental  first  aid,  or  debriefings,  
following  critical  incidents  to  any  agency  or  group  of  individuals  requesting  assistance.  
The  focus  of  this  service  is  to  minimize  the  harmful  effects  of  emotional  stress,  
particularly  crisis,  following  and  emergency  situations.    
  
Texas  Attorney  General  Task  Force,  Texas,  2012  –  Present   
Serve  on  a  task  force  for  Research  and  Development  of  minimum  standards  of  care  for  
organizations  providing  safe  homes  and/or  services  for  trafficked  individuals  in  the  state  
of  Texas.    
  
Assist  Local  Churches  in  Developing  Counseling  Ministries,  2008  –  Present    
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Consult  with  and  provide  guidance  to  local  church  leaders  in  developing  Christian  
counseling  ministries  in  their  churches.  
    
Traffick911  Consultant,  Fort  Worth,  Texas,  2010  –  2013   
Developed  a  counseling  model  and  continue  to  serve  in  an  advisory  capacity  for  
Traffick911,  a  nonprofit  organization,  that  works  towards  preventing,  rescuing,  and  
restoring  child  victims  of  sexual  trafficking.    
  
Consultant  for  Homeland  Security  Task  Force  for  Human  Trafficking  (Texas  Office),  
2013  -­  Present   
Serve  as  a  consultant  for  developing  methods  of  interviewing  child  victims  of  human  
trafficking  as  well  as  assisting  the  team  in  the  development  of  strategies  for  preventing  
burn-­out  and  secondary  trauma.  I  also  provide  expert  testimony  in  federal  court  cases.    
  
Crisis  Counseling,  Port  au  Prince,  Haiti,  March  2010   
Led  team  of  crisis  counselors  to  work  with  individuals  in  Haiti.  Provided  trauma  
counseling  for  Haitian  nationals,  humanitarian  aid  workers,  and  expatriates  in  the  wake  
of  the  January  2010  earthquake.    
  
Lecturer  and  Trainer  for  Educators,  Orphanage  Administration,  Community  Leaders  and  
Pastors,  in  Working  with  Traumatized  Children,  Xela,  Guatemala,  May,  2009  
Provided  training  to  community  leaders  and  social  agencies  who  worked  with  
traumatized  and  at-­risk  children  in  a  rural  area  of  Guatemala.  
  
Teaching  Specialization  
  
§   Crisis  and  Trauma     
§   Multicultural  Counseling:  Specializing  in  crisis  counseling  outside  the  United  States     
§   Basic  and  Advanced  Counseling  Skills     
§   Practicum     
§   Research  and  Statistics    
          Served  on  various  qualitative  and  quantitative  dissertation  committees.  Assist  
          students  in  working  with  and  understanding  statistical  designs  used  in  research.  
          Offer  guidance  in  selecting  testing  materials  for  dissertation.     
  
Master  Level  Courses  Taught     
  
Pre-­Practicum  in  Counseling  (COUN  5391)   
This  course  provides  the  experiential  foundation  for  all  practicum  and  internship  
experiences.  Students  learn  communication  and  interpersonal  skills  and  practice  
techniques  of  counseling.     
  
Practicum  I  in  Counseling  (COUN  6392)   
Counselors-­in-­training  perform  individual  and  group  therapy.  Students  apply  basic  
counseling  skills  to  counseling  situations.  
    
Practicum  II  and  III  in  Counseling  (PSYCH  4423,  4433)   
Counselors-­in-­training  conduct  group  therapy.  Students  apply  basic  and  advanced  
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counseling  skills  to  real  counseling  situations.    
  
  
Clinical  Internship  (PSYCH  5013)   
In  this  final  practicum  experience,  counselors-­in-­training  continue  developing  their  
professional  skills  as  they  focus  on  individual  and  family  counseling.  Emphasis  is  placed  
on  conceptualization  and  interview  proficiency.    
  
Psychological  Testing  and  Assessment  (PSYCH  4543)   
This  course  examines  assessment  techniques  and  tools,  particularly  in  relationship  to  
individual,  marriage  and  family  counseling,  in  both  church  and  community  counseling  
settings.  Students  learn  to  administer  and  interpret  selected  evaluation  and  testing  
measures  and  develop  psychological  evaluations.    
  
Abnormal  Psychology  (PSYCH  4353)   
Students  study  the  etiology  and  methods  of  the  diagnosis  of  abnormal  behavior  with  
special  attention  given  to  a  Christian  approach  to  treatment  and  prevention.  The  
church's  ministry  both  to  the  individual  and  the  family  are  addressed.    
  
Research  Methods  (COUN  5387)   
This  course  explores  the  scientific  method  of  social  and  psychological  research  in  order  
to  aid  the  student  in  understanding  the  theoretical  bases  of  scientific  research.  Students  
develop  a  working  knowledge  of  research  methods  and  problems  associated  with  doing  
human  research.  In  addition,  students  gain  the  ability  to  recognize  both  excellent  and  
poor  quality  research  and  research  methods.    
  
Multicultural  Perspectives  (COUN  5389)   
A  comprehensive  study  of  selected  cultural  groups  is  offered.  In-­depth  analysis  of  
contemporary  multicultural  trends  and  issues  provide  a  foundational  reference  base  for  
counseling  practice  in  a  growing  pluralistic  society.  The  student  will  examine  some  of  
the  major  cultural  groups  in  the  United  States  and  identify  implications  for  counseling.    
  
Contemporary  Approaches  to  Christian  Counseling  (COUN  6384)   
This  course  provides  a  survey  of  selected  contemporary  approaches  to  Christian  
counseling.  An  investigation  of  psychology  and  theology  as  presented  by  leading  
theorists  will  include  such  topics  as  the  relationship  between  religion  and  personality,  
healing  and  change,  and  functions  of  religious  practices.    
  
Theological  Perspectives  in  Christian  Counseling  (COUN  6315)   
This  course  offers  a  theological  foundations  of  Christian  counseling.  Students  will  
investigate  the  integration  of  counseling  and  theology  and  will  include  discussion  of    
spiritual  health,  prayer,  Scripture,  sin,  confession,  forgiveness,  and  redemption,  
particularly  as  related  to  the  counseling  process.    
  
Basic  Skills  in  Christian  Counseling  (PSYCH  4003)   
Students  are  introduced  to  basic  counseling  skills  and  to  the  application  of  these  skills  in  
managing  change.  Students  learn  and  practice  basic  skills,  consider  aspects  of  theology  
relevant  to  the  counseling  process,  and  consider  and  evaluate  the  basic  assumptions  
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that  counselors  bring  to  the  counseling  process.    
  
  
Advanced  Skills  in  Christian  Counseling  (PSYCH  4483)  and  (COUN  6316)   
This  course  builds  upon  the  basic  skills  and  theory  courses  in  counseling.  Students  
learn  advanced  skills  within  their  associated  theories  while  considering  the  relationship  
between  these  theories  and  Christian  theology.    
  
Lifespan  Human  Development  (COUN  5385)   
This  course  examines  developmental  psychology,  which  focuses  on  physical,  cognitive,  
social,  emotional,  sexual,  and  personality  development  from  conception  to  death  within  
the  context  of  basic  theories  of  development.    
  
Introduction  to  Professional  Counseling  (COUN  5380)   
Students  study  professional  standards,  ethical  guidelines,  legal  aspects  of  practice,  
standards  of  preparation  for  the  profession,  objectives  of  professional  organizations,  
and  the  professional  identity  of  persons  providing  direct  counseling  services.  The  ethical  
discussions  include  input  from  the  profession,  one's  internal  values,  and  Judeo-­  
Christian  influence.    
  
Group  Dynamics  (PSYCH  4383)   
Group  development,  processes  of  interaction,  and  effects  of  group  membership  are  
studied.  Students  experience  group  interaction  in  classroom  work  and  gain  an  
understanding  of  dynamics  underlying  the  inner  working  of  groups.  These  processes  
are  related  to  working  with  groups  of  various  kinds,  particularly  in  the  local  church.    
  
Group  Counseling  Methods  (COUN  5383)   
This  course  introduces  group  counseling  theories  and  techniques.  The  student  will  
analyze  group  leadership  and  group  processes  and  practice  in  leading  groups.    
Relationships  in  Ministry  (PSYCH  3003)   
This  course  is  a  study  of  human  relations  in  ministry.  It  focuses  upon  understanding  
oneself,  interactions  between  persons  in  groups,  and  interactions  between  groups  in  the  
performance  of  ministry.    
  
Addictive  and  Compulsive  Disorders  (COUN  6311)   
This  course  explores  the  nature  of  current  drugs  of  choice  and  how  they  are  being  
abused.  A  survey  of  the  addictive  and  compulsive  behavior  patterns  associated  with  
alcohol/drug  abuse,  eating  disorders,  compulsive  sexual  behaviors,  and  compulsive  
gambling  practices  are  included.  An  in-­depth  study  of  treatment  for  addictive  and  
compulsive  disorders  is  also  focused  on.    
  
Presentations  
  
“Human  Trafficking:  Keeping  Students  Safe:  
ESC  Region  11  –  Conference  for  School  Counselors  
Fort  Worth,  Texas,  November  2018  
  
  
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“Treating  Survivors  of  Human  Trafficking”  
American  Association  of  Christian  Counselors  World  Conference  
Nashville,  Tennessee,  September  2017  
  
“The  Issue  of  Trauma  Bonds  in  Sex  Trafficking”  
North  Texas  Anti-­Trafficking  Team  –  Human  Trafficking  Institute  
Arlington,  Texas,  December  14,  2016  
  
“Understanding  Trauma  Bonds  in  Victims  of  Sex  Trafficking”  
American  Association  of  Christian  Counselors  Regional  Conference  
Dallas,  Texas,  September  2016  
  
“Self-­Care:  Protecting  Yourself  from  Compassion  Fatigue  and  Burnout”    
Anti-­Trafficking  workshop    
Fort  Worth,  Texas,  May  21,  2016    
  
“Trauma  Bonds  in  Domestic  Victims  of  Sex  Trafficking”   
American  Association  of  Christian  Counselors  World  Conference    
Nashville,  Tennessee,  September  2015    
  
“The  Development  of  Trauma  Bonds  in  Victims  of  Human  Trafficking”   
Christian  Association  for  Psychological  Studies  International  Conference  Denver,  
Colorado,  April  8,  2015    
  
“Exploring  Professional  Therapists’  Worldviews  through  the  Lens  of  Christian  
Psychology”    
  th  
13 Symposium  of  European  Movement  for  Christian  Anthropology,  Psychology  and  
Psychotherapy   
Rome  Italy,  October  3,  2014    
  
“Understanding  the  Connection  between  Trauma  Bonds  and  Personal  Identity  in  Victims  
of  Sex  Trafficking”    
Christian  Association  for  Psychological  Studies  International  Conference    
Atlanta,  Georgia,  April  5,  2014.    
  
“Understanding  the  Connection  between  Trauma  Bonds  and  Personal  Identity  in  Victims  
of  Sex  Trafficking”    
       
38th Annual  Adolescent  Symposium  of  Texas    
Garland,  Texas,  February  5,  2014.    
  
“Developmental  Approach  to  Counselor  Education”   
Christian  Association  for  Psychological  Studies  Regional  Meeting    
Dallas,  Texas,  September  27,  2013.    
  
“Ethics:  The  Uses  and  Misuses  of  Technology  in  Counseling”   
Christian  Association  for  Psychological  Studies  Regional  Meeting    
Dallas,  Texas,  September  27,  2013.    
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                                                                                             Wolf   8  

  
“Understanding  the  Connection  Between  Trauma  Bonds  and  Personal  Identity  in  
Victims  of  Sex  Trafficking”    
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Homeland  Security  Task  Force  on  Human  Trafficking    
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Plano,  Texas,  June  1,  2012    
  
"Logos-­Centered  Supervision:  A  Worldview  Approach  to  Training  Counselors”  Christian  
Association  for  Psychological  Studies  International  Conference    
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“A  Little  Too  Close  to  Home:  Human  Trafficking  in  Texas”    
Dallas  Baptist  University  Symposium   
Dallas,  Texas,  February  3,  2012    
  
“After  the  Rescue:  Counseling  Children  and  Teens  in  the  Aftermath  of  Sex  Trafficking”  
Christian  Association  for  Psychological  Studies   
Dallas,  Texas,  November,  2011    
  
“International  Crisis  Counseling”   
American  Association  of  Christian  Counselors  2011  World  Conference    
Nashville,  Tennessee,  September,  2011    
  
“Nothing  Natural  about  Naturalism  (or  How  did  that  get  in  the  classroom??)”    
Dallas  Baptist  University  Symposium   
Dallas,  Texas,  September,  2011    
  
  
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“Created  in  the  Image  of  God”   
Key  Note  Speaker  Women’s  Retreat:  South  Hills  Baptist  Church    
Glen  Rose,  Texas,  June  25,  2011    
  
“Loving  God’s  Way”   
Key  Note  Speaker  Marriage  Conference:  First  Baptist  Grapeview    
Grapeview,  Texas,  April  2011    
  
“Taking  Hope  and  Healing  to  the  World:  Global  Crisis  Counseling”   
Christian  Association  for  Psychological  Studies  International  Conference    
Indianapolis,  Indiana,  April  2011    
  
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Dallas,  Texas,  February  2011    
  
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                                                   st
                                                        
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“Strengthening  Your  Emotional  and  Spiritual  Health”   
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Guatemala,  May  2009    
  
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“Building  Intimate  Marriages”   
International  Baptist  Convention    
Interlaken,  Switzerland,  June  2006.    
  
“Men  101”   
Women’s  Conference    
Wedgwood  Baptist  Church    
Fort  Worth,  Texas,  March  2006    
  
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Women’s  Conference    
Southern  Oaks  Baptist  Church  
Tyler,  Texas,  February  2006    
  
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The  Healing  Place,  Southcliff  Baptist  Church    
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